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15
                                     UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                        SAN FRANCISCO DIVISION
18

19
     FIGMA, INC.,                                       Case No. 3:24-cv-06507-JD
20
                        Plaintiff,                      DECLARATION OF RICHARD S.J.
21                                                      HUNG IN SUPPORT OF MOTION
            v.                                          FOR LEAVE TO AMEND
22                                                      COMPLAINT
     MOTIFF PTE. LTD., YUANFUDAO HK
23   LTD., and KANYUN HOLDINGS GROUP                    Date: July 10, 2025
     CO. LTD.,                                          Time: 10:00am
24                                                      Courtroom: 11, 19th Floor
                        Defendants.                     Judge: Hon. James Donato
25
                                                        Action Filed: September 16, 2024
26                                                      Trial Date: August 18, 2025

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     R. HUNG DECLARATION ISO MOTION FOR LEAVE TO AMEND COMPLAINT
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 1          I, Richard S.J. Hung, declare as follows:
 2          1.      I am a partner with the law firm of Morrison & Foerster LLP, counsel for Plaintiff
 3   Figma, Inc. in this matter. I submit this declaration in support of Figma’s motion for leave to file
 4   a First Amended Complaint. I have personal knowledge of the matters below and could and
 5   would testify competently as follows.
 6          2.      Figma seeks leave to file a First Amended Complaint to include three additional
 7   defendants, Beijing Kanyun Software Co., Ltd.; Yuan Ed. Ltd.; and Beijing Yuanli Future
 8   Technology Co., Ltd., and to plead additional claims for violations of the Digital Millenium
 9   Copyright Act, 17 U.S.C. § 1201, et seq., the Computer Fraud and Abuse Act, 18 U.S.C. § 1030,
10   et seq., and California’s unfair competition law, Cal. Bus. & Prof. Code § 17200 et seq.
11          3.      The attached materials are submitted in support of Figma’s showing that, based on
12   information learned in discovery, the proposed amended pleading is necessary to fully protect
13   Figma’s interests. Figma and its counsel have been working diligently to identify all corporate
14   entities within a web of related companies who are responsible for the conduct alleged in the
15   complaint, as well as the methods by which Defendants have gained access to Figma’s non-public
16   information and computer code. This investigation has been time-consuming because, among
17   other reasons, Defendants’ witnesses have provided partial or conflicting information about the
18   entities who employ them or are responsible for the Motiff product, and the technical methods
19   used to access Figma’s computer code are complex and have changed over time. The proposed
20   First Amended Complaint is the result of Plaintiff’s investigative efforts, which are ongoing.
21          4.      Attached as Exhibit 1 is Figma’s Proposed First Amended Complaint.
22          5.      Attached as Exhibit 2 is a redline showing all changes made to the Proposed First
23   Amended Complaint as compared against the original complaint.
24          6.      Attached as Exhibit 3 is a true and correct copy of excerpted pages of Defendants’
25   Responses to Plaintiff’s First Set of Interrogatories, dated February 20, 2025.
26          7.      Attached as Exhibit 4 is a true and correct copy of excerpts of the deposition of
27   Yuchen (Ethan) Zhang, Volume 1, dated March 31, 2025.
28          8.      Attached as Exhibit 5 is a true and correct copy of excerpts of the deposition of
     R. HUNG DECLARATION IN SUPPORT OF MOTION FOR LEAVE TO AMEND COMPLAINT
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 1   Haoran (Ryan) Zhang dated April 3, 2025.
 2          9.       Attached as Exhibit 6 is a true and correct copy of excerpts of the deposition of
 3   Mingzhe (Max) Zhang dated April 1, 2025.
 4          10.      Attached as Exhibit 7 is a true and correct copy of excerpts of the deposition of
 5   Ming (Tim) Yang dated April 4, 2025.
 6          11.      Attached as Exhibit 8 is a true and correct copy of a document produced by
 7   Defendants, assigned bates number MOTIFF_PROD_0001503, converted to PDF from its native
 8   .xlsx format.
 9          12.      Attached as Exhibit 9 is a true and correct copy of an email communication I sent
10   to Defendants’ counsel, Mike Bettinger, dated May 23, 2025.
11          13.      Attached as Exhibit 10 is a true and correct copy of an email communication from
12   Defendants’ counsel, Mr. Bettinger to me, dated May 28, 2025.
13          14.      Attached as Exhibit 11 is a true and correct copy of an email communication I
14   sent to Defendants’ counsel, Mr. Bettinger, dated June 1, 2025.
15          15.      Attached to as Exhibit 12 is a true and correct copy of an email communication
16   from Defendants’ counsel, Mr. Bettinger to me, dated June 4, 2025.
17          16.      Attached as Exhibit 13 is a true and correct copy excerpts of the May 15, 2025
18   hearing transcript.
19          I declare under penalty of perjury under the laws of the United States that the foregoing is
20   true and correct. Executed this 6th day of June 2025 in San Francisco, California.
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22                                                           /s/ Richard S.J. Hung
23                                                           Richard S.J. Hung

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     R. HUNG DECLARATION IN SUPPORT OF MOTION FOR LEAVE TO AMEND COMPLAINT
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